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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.0.3
                                Eastern Division

Sharda White
                                    Plaintiff,
v.                                                   Case No.: 1:10−cv−03928
                                                     Honorable Blanche M. Manning
NCO Financial Systems, Inc.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 12, 2010:


       MINUTE entry before Honorable Blanche M. Manning: Plaintiff having reached a
settlement with the Defendant, the case is hereby dismissed with prejudice and without
costs.Civil case terminated. Mailed notice(rth, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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